Case 8:21-cv-00058-CJC-ADS Document 30 Filed 05/11/21 Page 1 of 5 Page ID #:219



   1   RANDALL W. EDWARDS (S.B. #179053)
       redwards@omm.com
   2   MATTHEW D. POWERS (S.B. #212682)
       mpowers@omm.com
   3   ADAM M. KAPLAN (S.B. #298077)
       akaplan@omm.com
   4   O’MELVENY & MYERS LLP
       Two Embarcadero Center, 28th Floor
   5   San Francisco, CA 94111-3823
       Telephone: (415) 984-8700
   6   Facsimile:    (415) 984-8701
   7   Attorneys for Defendant
       TEAMVIEWER US, INC.
   8

   9                               UNITED STATES DISTRICT COURT

  10                             CENTRAL DISTRICT OF CALIFORNIA

  11
       JACK GERSHFELD, individually, and on               Case No. 8:21-cv-00058-CJC-ADS
  12   behalf of a class of similarly situated persons,
                                                          DEFENDANT TEAMVIEWER US,
  13                          Plaintiff,                  INC.’S REQUEST FOR JUDICIAL
                                                          NOTICE IN SUPPORT OF MOTION
  14          v.                                          TO DISMISS
  15   TEAMVIEWER US, INC., and DOES 1                    Hearing Date: July 12, 2021
       through 100, inclusive,                            Time: 1:30 p.m.
  16                                                      Judge: Honorable Cormac J. Carney
                              Defendants.
  17                                                      Courtroom: 9B

  18

  19
  20

  21

  22

  23

  24

  25

  26

  27

  28

                                                                                8:21-cv-00058-CJC-ADS
                    DEFENDANT TEAMVIEWER US, INC.’S REQUEST FOR JUDICIAL NOTICE
Case 8:21-cv-00058-CJC-ADS Document 30 Filed 05/11/21 Page 2 of 5 Page ID #:220



   1   I.     INTRODUCTION
   2          Pursuant to Federal Rule of Evidence 201, Defendant TeamViewer US, Inc.

   3   (“TeamViewer”) hereby requests that the Court take judicial notice of the following documents:

   4   TeamViewer’s End User License Agreement (“EULA”) in effect as of September 2019, attached

   5   to the Declaration of Helaine de Tomasi (“De Tomasi Declaration”) as Exhibit A; screenshots of

   6   the purchase flow on TeamViewer’s website, attached to the De Tomasi Declaration as Exhibit B;

   7   the invoice Plaintiff Jack Gershfeld (“Plaintiff”) received for the purchase of his TeamViewer

   8   software subscription, attached to the De Tomasi Declaration as Exhibit C; and TeamViewer’s

   9   automatic renewal reminder email, attached to the De Tomasi Declaration as Exhibit D. The

  10   court may take judicial notice of these documents because they are referenced in the Complaint

  11   (e.g., Dkt. 20, First Amended Complaint (“FAC”) ¶ 13 (reproducing the “checkout page” from

  12   www.teamviewer.com)) and because Plaintiff’s allegations of wrongdoing necessarily rely on the

  13   contents of these documents. See Parrino v. FHP, Inc., 146 F.3d 699, 706 (9th Cir. 1998)

  14   (“Because Parrino’s claims rest on his membership in FHP’s plan and on the terms of the plan,

  15   documents governing plan membership, coverage, and administration are essential to his

  16   complaint.”); Neilson v. Union Bank of California, N.A., 290 F. Supp. 2d 1101, 1114 (C.D. Cal.

  17   2003) (“The court may also take judicial notice of the documents identified in paragraphs d, e,

  18   and f, as these are contracts between Pacific Inland Bank and putative class members that provide

  19   the foundation for plaintiffs’ claims.”).

  20   II.    ARGUMENT
  21          Federal Rule of Evidence 201 permits a court to take judicial notice of an adjudicative fact

  22   “not subject to reasonable dispute” because the fact is either “(1) generally known within the

  23   territorial jurisdiction of the trial court or (2) capable of accurate and ready determination by

  24   resort to sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). And it

  25   is axiomatic that under Rule 201, “documents whose contents are alleged in a complaint and

  26   whose authenticity no party questions, but which are not physically attached to the pleading, may

  27   be considered in ruling on a 12(b)(6) motion to dismiss.” See, e.g., Branch v. Tunnell, 14 F.3d

  28   449, 454 (9th Cir. 1994), overruled on other grounds, Galbraith v. Cnty. of Santa Clara, 307 F.3d

                                                                             TEAMVIEWER’S REQUEST FOR
                                                         1                              JUDICIAL NOTICE
                                                                                   8:21-CV-00058-CJC-ADS
Case 8:21-cv-00058-CJC-ADS Document 30 Filed 05/11/21 Page 3 of 5 Page ID #:221



   1   1119 (9th Cir. 2002). Moreover, the Ninth Circuit has “extended the ‘incorporation by reference’
   2   doctrine to situations in which the plaintiff's claim depends on the contents of a document, the
   3   defendant attaches the document to its motion to dismiss, and the parties do not dispute the
   4   authenticity of the document, even though the plaintiff does not explicitly allege the contents of
   5   that document in the complaint.” Knievel v. ESPN, 393 F.3d 1068, 1076 (9th Cir.
   6   2005) (citing Parrino, 146 F.3d at 706.). Courts “may [also] take judicial notice of public
   7   documents.” In re Toyota Motor Corp., 785 F. Supp. 2d 883, 902 (C.D. Cal. 2011) (citing Lee v.
   8   City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001)). In ruling upon a motion to dismiss, the
   9   Court may consider matters which may be judicially noticed pursuant to Federal Rule of
  10   Evidence 201. See Barron v. Reich, 13 F.3d 1370, 1377 (9th Cir. 1994).
  11          The EULA and screenshots from TeamViewer’s website are properly subject to such
  12   notice because they consist of facts “capable of accurate and ready determination by resort to
  13   sources who accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b). For instance,
  14   Exhibit A to the De Tomasi Declaration reflects the terms of TeamViewer’s license agreement
  15   with all customers. Courts routinely take judicial notice of this kind of basic contract information
  16   that is not subject to any reasonable dispute. Crago v. Charles Schwab & Co., 2017 WL
  17   2540577, at *2 n.2 (N.D. Cal. June 12, 2017) (taking judicial notice of “Schwab’s customer
  18   account agreements (‘Schwab One Account Agreements’) from 2011 to 2014”); Yoshioka v.
  19   Charles Schwab Corp., 2012 WL 5932817, at *3 (N.D. Cal. Nov. 27, 2012) (taking judicial
  20   notice “of a number of documents related to Plaintiff’s account, including the IRA Plan,
  21   Plaintiff’s IRA account application, the 2011 IRA Account Agreement, and October 2011
  22   Important Account Agreement and Disclosure Information”). Exhibit B to the De Tomasi
  23   Declaration, meanwhile, consists of screenshots from TeamViewer’s website as they would have
  24   appeared at the time of Plaintiff’s purchase, which Plaintiff references in his complaint and
  25   includes a partial image of. See, e.g., FAC ¶ 13. Courts frequently recognize that judicial notice
  26   of those types of materials is proper. In re Toyota Motor Corp. Hybrid Brake Mktg., Sales,
  27   Practices & Prod. Liab. Litig., 890 F. Supp. 2d 1210, 1215 (C.D. Cal. 2011) (Carney, J.) (taking
  28   judicial notice of warranty documents where complaint “references and quotes from these

                                                                           TEAMVIEWER’S REQUEST FOR
                                                        2                             JUDICIAL NOTICE
                                                                                 8:21-CV-00058-CJC-ADS
Case 8:21-cv-00058-CJC-ADS Document 30 Filed 05/11/21 Page 4 of 5 Page ID #:222



   1   warranties”); Datel Holdings Ltd. v. Microsoft Corp., 712 F. Supp. 2d 974, 985 (N.D. Cal. 2010)
   2   (taking judicial notice of screen shots from a game referenced and discussed in complaint because
   3   it is “capable of accurate and ready determination using sources whose accuracy cannot
   4   reasonably be questioned”).
   5          Moreover, all the documents for which TeamViewer seeks judicial notice are properly
   6   noticeable because Plaintiff’s claims are dependent upon the content of those documents.
   7   Plaintiff alleges that TeamViewer failed to “present the automatic renewal offer terms in a clear
   8   and conspicuous manner before the subscription is fulfilled and in visual proximity to the request
   9   for consent to the offer.” See FAC ¶ 28. He also alleges TeamViewer “charg[ed] plaintiff’s
  10   credit [sic] for an automatic renewal without first obtaining plaintiff’s affirmative and
  11   unequivocal consent.” Id. ¶ 29. He further alleges that TeamViewer failed to “provide an
  12   acknowledgment that includes the automatic renewal offer terms, cancellation policy, and
  13   information regarding how to cancel in a manner that is capable of being retained by the
  14   consumer” or to “provide a toll-free telephone number, electronic mail address, or another cost-
  15   effective, timely, and easy-to-use mechanism for cancellation that shall be described in said
  16   acknowledgment.” Id. ¶¶ 30-31. Finally, he alleges TeamViewer made a “material change from
  17   $499.80 to $588.00 for a year’s worth of the Software subscription and fail[ed] to provide
  18   plaintiff with a clear and conspicuous notice of said material change and fail[ed] to provide
  19   conspicuous information regarding how to cancel.” Id. ¶ 33. Consequently, Plaintiff’s
  20   allegations of wrongdoing necessarily rely on the documents for which TeamViewer seeks
  21   judicial notice. For instance, Plaintiff’s allegation that TeamViewer did not obtain his consent to
  22   the renewal depends on the terms of TeamViewer’s EULA, which Plaintiff was required to accept
  23   as a condition of his purchase. And his claims that TeamViewer did not present the automatic
  24   renewal terms “in a clear and conspicuous manner” before his purchase and that TeamViewer
  25   failed to provide him with acknowledgments containing those terms and explaining how to cancel
  26   his subscription depend on the contents of TeamViewer’s website and the post-purchase
  27   documents he received from TeamViewer, including his purchase invoice and the renewal
  28   reminder email.

                                                                            TEAMVIEWER’S REQUEST FOR
                                                         3                             JUDICIAL NOTICE
                                                                                  8:21-CV-00058-CJC-ADS
Case 8:21-cv-00058-CJC-ADS Document 30 Filed 05/11/21 Page 5 of 5 Page ID #:223



   1           Courts routinely take judicial notice of these types of documents on which the complaint
   2   necessarily relies. See Parrino, 146 F.3d at 706 (“[A] district court ruling on a motion to dismiss
   3   may consider a document the authenticity of which is not contested, and upon which the
   4   plaintiffs’ complaint necessarily relies”); Data Trace Info. Servs. LLC v. Axis Tech. Grp., LLC,
   5   2016 WL 7486285, at *2 (C.D. Cal. Mar. 17, 2016) (Carney, J.) (denying plaintiff’s objections
   6   and taking judicial notice of contract and documents incorporated into contract because contract
   7   “is central to [plaintiff]’s claims” and incorporated documents “are part of that agreement”);
   8   Albert v. Williams, 2018 WL 6092578, at *11 (C.D. Cal. Nov. 21, 2018) (Carney, J.) (taking
   9   judicial notice of “the State Bar’s letter to [plaintiff] regarding her suspension” because the letter
  10   formed “the basis of several of her allegations in the FAC.”); Ko v. Bank of Am., N.A., 2015 WL
  11   6134350, at *3 (C.D. Cal. Oct. 19, 2015) (Carney, J.) (judicial notice appropriate where “the
  12   complaint refers to the mortgage loan from Homecomings Financial Network in that amount” and
  13   “the mortgage is central to Mr. Ko’s claim.”). The same result should apply here.
  14   III.    CONCLUSION
  15           For the foregoing reasons, TeamViewer respectfully requests that the Court grant this
  16   request for judicial notice.
  17
              Dated: May 11, 2021
  18                                                    O’MELVENY & MYERS LLP
  19
                                                        By:     /s/ Randall W. Edwards
  20                                                            Randall W. Edwards
                                                                Attorneys for Defendant TeamViewer US,
  21                                                            Inc.
  22

  23

  24

  25

  26

  27

  28

                                                                             TEAMVIEWER’S REQUEST FOR
                                                         4                              JUDICIAL NOTICE
                                                                                   8:21-CV-00058-CJC-ADS
